






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO.  03-01-00583-CV






In the Matter of S. P.







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. J-19,560, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING 






	Appellant S.P. seeks to appeal an order signed by the district court on May 3, 2001. 
Appellant filed a request for findings of fact and conclusions of law, thus extending the deadline to
file a notice of appeal to August 1, 2001.  See Tex. R. App. 26.1(a).  Appellant's notice of appeal
was filed in the district court on August 20, 2001.  Appellant's notice of appeal was not timely filed. 
See Tex. R. App. P. 26.1, 26.3.  We therefore dismiss the appeal for want of jurisdiction.  Tex. R.
App. P. 42.3(a).



					__________________________________________

					Lee Yeakel, Justice

Before Justices Kidd, Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   December 6, 2001

Do Not Publish


